 Fill in this information to identify your case and this filing:

  Debtor 1                          Joan                         Raider                     Rawlings
                                   First Name                   Middle Name                Last Name

  Debtor 2
  (Spouse, if filing)              First Name                   Middle Name                Last Name

  United States Bankruptcy Court for the:                                       Western District of Washington
                                                                                                                                                                                   ✔
                                                                                                                                                                                   ❑   Check if this is an
  Case number                                   22-10025                                                                                                                               amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think it
fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
      ❑ No. Go to Part 2.
      ✔ Yes. Where is the property?
      ❑
      1.1     4534 NE 204th Pl                                                What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
              Street address, if available, or other
              description
                                                                             ✔ Single-family home
                                                                             ❑                                                                             amount of any secured claims on Schedule D: Creditors

                                                                             ❑ Duplex or multi-unit building
                                                                                                                                                           Who Have Claims Secured by Property.

                                                                             ❑ Condominium or cooperative                                                Current value of the            Current value of the
                                                                             ❑ Manufactured or mobile home                                               entire property?                portion you own?
               Lake Forest Park, WA 98155                                    ❑ Land                                                                                  $1,150,000.00                  $1,150,000.00
              City                               State        ZIP Code       ❑ Investment property
                                                                             ❑ Timeshare                                                                 Describe the nature of your ownership interest (such
                                                                                                                                                         as fee simple, tenancy by the entireties, or a life
               King
              County
                                                                             ❑ Other                                                                     estate), if known.
                                                                              Who has an interest in the property? Check one.
                                                                                                                                                           Fee Simple
                                                                             ✔ Debtor 1 only
                                                                             ❑
                                                                             ❑ Debtor 2 only
                                                                             ❑ Debtor 1 and Debtor 2 only                                                 ❑ Check if this is community property
                                                                                                                                                              (see instructions)
                                                                             ❑ At least one of the debtors and another
                                                                             Other information you wish to add about this item, such as local
                                                                                                             The Exemption applied here is
                                                                                                             an estimate for the 2022
                                                                                                             amount and will be amended
                                                                                                             once the actual exemption
                                                                             property identification number: amount is known
 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here.........................................................................................................                  ➜          $1,150,000.00




Official Form 106A/B                                                                                    Schedule A/B: Property                                                                         page 1

                      Case 22-10025-TWD                                   Doc 11              Filed 01/21/22                      Ent. 01/21/22 21:41:02                           Pg. 1 of 48
 Debtor 1                  Joan                          Raider                           Rawlings                                                            Case number (if known) 22-10025
                           First Name                    Middle Name                       Last Name




 Part 2: Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
      ❑ No
      ✔ Yes
      ❑
      3.1 Make:                                   Toyota                    Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the

                                                  Sienna
                                                                            ✔ Debtor 1 only
                                                                            ❑                                                                               amount of any secured claims on Schedule D: Creditors

                                                                            ❑ Debtor 2 only
            Model:                                                                                                                                          Who Have Claims Secured by Property.

                                                  2001                      ❑ Debtor 1 and Debtor 2 only                                                  Current value of the         Current value of the
                                                                            ❑ At least one of the debtors and another
            Year:
                                                                                                                                                          entire property?             portion you own?
                                                  113000
            Approximate mileage:                                                                                                                                         $3,600.00                   $3,600.00

            Other information:                                              ❑Check if this is community property (see
                                                                                instructions)
            113,000 miles




 4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
      Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
      ✔ No
      ❑
      ❑ Yes
 5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
      you have attached for Part 2. Write that number here.........................................................................................................                  ➜              $3,600.00




 Part 3: Describe Your Personal and Household Items

  Do you own or have any legal or equitable interest in any of the following items?                                                                                                   Current value of the
                                                                                                                                                                                      portion you own?
                                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                                      claims or exemptions.

 6. Household goods and furnishings
      Examples:       Major appliances, furniture, linens, china, kitchenware

      ❑ No
      ✔ Yes. Describe........
      ❑
                                               Household goods and furnishings
                                                                                                                                                                                                     $3,500.00

 7. Electronics
      Examples:       Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections;
                      electronic devices including cell phones, cameras, media players, games

      ❑ No
      ✔ Yes. Describe........
      ❑
                                               Cell Phone, Computer, printer, television, ipad                                                                                                         $350.00


 8. Collectibles of value
      Examples:       Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                      stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
      ✔ No
      ❑
      ❑ Yes. Describe........

Official Form 106A/B                                                                                    Schedule A/B: Property                                                                      page 2

                     Case 22-10025-TWD                                   Doc 11               Filed 01/21/22                       Ent. 01/21/22 21:41:02                        Pg. 2 of 48
 Debtor 1                      Joan                               Raider                                 Rawlings                                                                   Case number (if known) 22-10025
                               First Name                         Middle Name                            Last Name



 9. Equipment for sports and hobbies
       Examples:          Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks;
                          carpentry tools; musical instruments

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                      Exercise bike, film camera & tripod                                                                                                                                  $50.00



 10.    Firearms
        Examples:           Pistols, rifles, shotguns, ammunition, and related equipment
        ✔ No
        ❑
        ❑ Yes. Describe........

 11.    Clothes
        Examples:           Everyday clothes, furs, leather coats, designer wear, shoes, accessories

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                      Wearing Apparel and Shoes                                                                                                                                           $500.00



 12.    Jewelry
        Examples:           Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                      Costume Jewelry ($50); Tennis bracelet ($500).
                                                                                                                                                                                                                          $550.00



 13.    Non-farm animals
        Examples:           Dogs, cats, birds, horses
        ✔ No
        ❑
        ❑ Yes. Describe........

 14.    Any other personal and household items you did not already list, including any health aids you did not list

        ✔ No
        ❑
        ❑ Yes. Describe........

 15.    Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
        for Part 3. Write that number here........................................................................................................................................➜                                    $4,950.00




 Part 4: Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                                              Current value of the
                                                                                                                                                                                                           portion you own?
                                                                                                                                                                                                           Do not deduct secured
                                                                                                                                                                                                           claims or exemptions.


 16.    Cash
        Examples:           Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        ✔ No
        ❑
        ❑ Yes........................................................................................................................................................   Cash..............



Official Form 106A/B                                                                                                     Schedule A/B: Property                                                                        page 3

                        Case 22-10025-TWD                                           Doc 11                   Filed 01/21/22                             Ent. 01/21/22 21:41:02                        Pg. 3 of 48
 Debtor 1                 Joan                  Raider                   Rawlings                                          Case number (if known) 22-10025
                          First Name            Middle Name              Last Name



 17.   Deposits of money
       Examples:        Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other
                        similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes..................
       ❑
                                               Institution name:



       17.1. Checking account:                  Sound Credit Union - 7448-01                                                        $3,927.41


       17.2. Checking account:                  BECU Checking                                                                          $25.00


       17.3. Savings account:                   Sound Credit Union - Acct# 7448-00                                                    $995.76


       17.4. Savings account:


       17.5. Certificates of deposit:


       17.6. Other financial account:


       17.7. Other financial account:


       17.8. Other financial account:


       17.9. Other financial account:


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples:        Bond funds, investment accounts with brokerage firms, money market accounts
       ✔ No
       ❑
       ❑ Yes..................
       Institution or issuer name:




 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

       Name of entity:                                                                     % of ownership:




Official Form 106A/B                                                                Schedule A/B: Property                                                    page 4

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 Debtor 1                 Joan                        Raider                Rawlings                                       Case number (if known) 22-10025
                          First Name                  Middle Name           Last Name



 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

       Issuer name:




 21.   Retirement or pension accounts
       Examples:        Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       ✔ No
       ❑
       ❑ Yes. List each account
            separately.
       Type of account:                     Institution name:

       401(k) or similar plan:


       Pension plan:


       IRA:


       Retirement account:


       Keogh:


       Additional account:


 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
       others
       ✔ No
       ❑
       ❑ Yes.....................
                                      Institution name or individual:

       Electric:


       Gas:


       Heating oil:


       Security deposit on rental unit:


       Prepaid rent:




Official Form 106A/B                                                                   Schedule A/B: Property                                                page 5

                    Case 22-10025-TWD                              Doc 11     Filed 01/21/22            Ent. 01/21/22 21:41:02               Pg. 5 of 48
 Debtor 1                 Joan                 Raider                  Rawlings                                     Case number (if known) 22-10025
                          First Name           Middle Name              Last Name



       Telephone:


       Water:


       Rented furniture:


       Other:


 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes.....................
       Issuer name and description:




 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       ✔ No
       ❑
       ❑ Yes.....................
       Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c):




 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
       benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples:       Internet domain names, websites, proceeds from royalties and licensing agreements
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 27.   Licenses, franchises, and other general intangibles
       Examples:       Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                       professional licenses
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


Money or property owed to you?                                                                                                               Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.




Official Form 106A/B                                                              Schedule A/B: Property                                                page 6

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 Debtor 1              Joan                    Raider                 Rawlings                                          Case number (if known) 22-10025
                       First Name              Middle Name             Last Name



 28.   Tax refunds owed to you

       ❑ No
       ✔ Yes.
       ❑        Give specific information about                                                                               Federal:
                them, including whether you
                already filed the returns and the       2020 | Senior Property Tax Refunds                                   State:
                                                                                                                                                                    unknown
                tax years.......................
                                                                                                                             Local:


 29.   Family support
       Examples:    Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

       ✔ No
       ❑
       ❑ Yes.   Give specific information..........
                                                                                                                             Alimony:

                                                                                                                              Maintenance:

                                                                                                                             Support:

                                                                                                                              Divorce settlement:

                                                                                                                             Property settlement:


 30.   Other amounts someone owes you
       Examples:    Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social
                    Security benefits; unpaid loans you made to someone else
       ✔ No
       ❑
       ❑ Yes.   Give specific information..........




 31.   Interests in insurance policies
       Examples:    Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ❑ No
       ✔ Yes.
       ❑        Name the insurance company
                                                          Company name:                                        Beneficiary:                         Surrender or refund value:
                of each policy and list its value....
                                                          AXA - Equitable - Interest Sensitive Whole
                                                          Live, Series 149 (Cash Surrender Value)             Ira Raider                                              $1,935.33




                                                          Term Life Ins - Mutual of Omaha
                                                          Acct# 021-89 (limited accident)                       Ira Raider                                            unknown



                                                          Term Life Ins - AAA Auto Club Life Ins
                                                          Acct# 6579 (Any accident)
                                                          Semi Annual Payment                                   Ira Raider                                            unknown



                                                           Term Life Ins - AAA - Member Ins Acct# 7960
                                                           Pgm (Car accident) Semi- annual payment              Ira Raider                                            unknown




Official Form 106A/B                                                             Schedule A/B: Property                                                            page 7

                   Case 22-10025-TWD                      Doc 11         Filed 01/21/22             Ent. 01/21/22 21:41:02                      Pg. 7 of 48
 Debtor 1                  Joan                           Raider                             Rawlings                                                             Case number (if known) 22-10025
                           First Name                      Middle Name                       Last Name




                                                                           Term Life Insurance Policy - GE Capital
                                                                           Assurance -5741 (Accident only - death                                     Ira Raider                                              $0.00


 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property
       because someone has died.
       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples:         Accidents, employment disputes, insurance claims, or rights to sue

       ❑ No
       ✔ Yes.
       ❑            Describe each claim................                State Court Lawsuit ( Quiet Title and Consumer Protection Action - King County
                                                                                                                                                                                                      unknown
                                                                       Superior Court, Rawlings v. Nationstar Mortgage, et. al., Case# 21-2-1657-7-SEA)




 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims

       ❑ No
       ✔ Yes.
       ❑            Describe each claim................                Claim on Homeowner's Ins for Roof Damage and Front Deck (Allstate Ins. Claim#
                                                                       0646503599)                                                                                                                    unknown




 35.   Any financial assets you did not already list

       ❑ No
       ✔ Yes.
       ❑            Give specific information..........                See Attached.
                                                                                                                                                                                                     $16,531.77



 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here..................................................................................................................................➜                         $23,415.27



 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?
       ✔No. Go to Part 6.
       ❑
       ❑Yes. Go to line 38.
                                                                                                                                                                                          Current value of the
                                                                                                                                                                                          portion you own?
                                                                                                                                                                                          Do not deduct secured
                                                                                                                                                                                          claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe........

 39.   Office equipment, furnishings, and supplies
       Examples:         Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices


Official Form 106A/B                                                                                       Schedule A/B: Property                                                                    page 8

                     Case 22-10025-TWD                                     Doc 11               Filed 01/21/22                        Ent. 01/21/22 21:41:02                        Pg. 8 of 48
 Debtor 1                  Joan                           Raider                            Rawlings                                                              Case number (if known) 22-10025
                           First Name                      Middle Name                       Last Name



       ✔ No
       ❑
       ❑ Yes. Describe........

 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe........

 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe........

 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe........
       Name of entity:                                                                                               % of ownership:

                                                                                                                                            %


 43.   Customer lists, mailing lists, or other compilations
       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
               ✔ No
               ❑
               ❑ Yes. Describe........

 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.........




 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here.................................................................................................................................➜                               $0.00



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.

 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       ✔No. Go to Part 7.
       ❑
       ❑Yes. Go to line 47.
                                                                                                                                                                                          Current value of the
                                                                                                                                                                                          portion you own?
                                                                                                                                                                                          Do not deduct secured
                                                                                                                                                                                          claims or exemptions.




Official Form 106A/B                                                                                       Schedule A/B: Property                                                                    page 9

                     Case 22-10025-TWD                                     Doc 11               Filed 01/21/22                        Ent. 01/21/22 21:41:02                        Pg. 9 of 48
 Debtor 1                   Joan                             Raider                              Rawlings                                                                Case number (if known) 22-10025
                            First Name                       Middle Name                          Last Name



 47.   Farm animals
       Examples:          Livestock, poultry, farm-raised fish
       ✔ No
       ❑
       ❑ Yes.........................

 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............



 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here...................................................................................................................................➜                                     $0.00



 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above


 53.   Do you have other property of any kind you did not already list?
       Examples:          Season tickets, country club membership
       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                                                      $0.00



 Part 8: List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2..........................................................................................................................................➜                        $1,150,000.00


 56.   Part 2: Total vehicles, line 5                                                                                          $3,600.00


 57.   Part 3: Total personal and household items, line 15                                                                     $4,950.00


Official Form 106A/B                                                                                            Schedule A/B: Property                                                                       page 10

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 Debtor 1                 Joan                         Raider                          Rawlings                                                          Case number (if known) 22-10025
                          First Name                    Middle Name                     Last Name



 58.   Part 4: Total financial assets, line 36                                                                   $23,415.27


 59.   Part 5: Total business-related property, line 45                                                                 $0.00


 60.   Part 6: Total farm- and fishing-related property, line 52                                                        $0.00


 61.   Part 7: Total other property not listed, line 54                                      +                          $0.00


 62.   Total personal property. Add lines 56 through 61..............                                            $31,965.27           Copy personal property total➜       +                $31,965.27




 63.   Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................                       $1,181,965.27




Official Form 106A/B                                                                                 Schedule A/B: Property                                                                   page 11

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 Debtor 1              Joan               Raider              Rawlings                               Case number (if known) 22-10025
                       First Name          Middle Name         Last Name



                                                         SCHEDULE A/B: PROPERTY
                                                                 Continuation Page

 35. Any financial assets you did not already list
      Uncashed Senior Property Tax Refund (2017, 2018, 2019)                                                                           $15,432.94
      Uncashed Money Order                                                                                                              $1,098.83




Official Form 106A/B                                                     Schedule A/B: Property
               Case 22-10025-TWD                     Doc 11     Filed 01/21/22           Ent. 01/21/22 21:41:02       Pg. 12 of 48
 Fill in this information to identify your case:

  Debtor 1                    Joan                 Raider              Rawlings
                              First Name           Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)         First Name           Middle Name         Last Name

  United States Bankruptcy Court for the:                     Western District of Washington

  Case number                           22-10025                                                                                       ✔
                                                                                                                                       ❑    Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                         04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out and
attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar amount as
exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit. Some
exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount. However, if you
claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the property is determined to
exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ❑
      ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on               Current value of the        Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                       portion you own
                                                             Copy the value from         Check only one box for each exemption.
                                                             Schedule A/B
 Brief description:
                                                                                         ❑                                        Wash. Rev. Code. § 6.13.030(b)
                                                                                         ✔
 4534 NE 204th Pl Lake Forest Park, WA 98155                            $1,150,000.00
                                                                                         ❑    100% of fair market value, up to    (Claimed: $856,700.00)
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:          1.1


                                                                                         ✔
 Brief description:
 2001 Toyota Sienna                                                         $3,600.00
                                                                                         ❑                 $3,250.00              Wash. Rev. Code. § 6.15.010(1)(d)(iii)

  113,000 miles                                                                          ❑    100% of fair market value, up to
                                                                                              any applicable statutory limit
 Line from
 Schedule A/B:          3.1


 3.   Are you claiming a homestead exemption of more than $170,350?
      (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
      ❑ No
      ✔ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
      ❑
         ✔ No
         ❑
         ❑ Yes



Official Form 106C                                               Schedule C: The Property You Claim as Exempt                                                     page 1 of 3




                  Case 22-10025-TWD                     Doc 11          Filed 01/21/22              Ent. 01/21/22 21:41:02              Pg. 13 of 48
 Debtor 1             Joan                 Raider                 Rawlings                                         Case number (if known) 22-10025
                      First Name            Middle Name            Last Name


 Part 2: Additional Page

 Brief description of the property and line on            Current value of the      Amount of the exemption you claim           Specific laws that allow exemption
 Schedule A/B that lists this property                    portion you own
                                                          Copy the value from       Check only one box for each exemption.
                                                          Schedule A/B

                                                                                    ✔
 Brief description:
 Household goods and furnishings                                       $3,500.00
                                                                                    ❑                $3,500.00                 Wash. Rev. Code. § 6.15.010(1)(d)(i)
                                                                                    ❑   100% of fair market value, up to
 Line from                                                                              any applicable statutory limit
 Schedule A/B:         6


                                                                                    ✔
 Brief description:
 Cell Phone, Computer, printer, television, ipad                         $350.00
                                                                                    ❑                 $350.00                  Wash. Rev. Code. § 6.15.010(1)(d)(i)
                                                                                    ❑   100% of fair market value, up to
 Line from                                                                              any applicable statutory limit
 Schedule A/B:         7


                                                                                    ✔
 Brief description:
 Wearing Apparel and Shoes                                               $500.00
                                                                                    ❑                 $500.00                  Wash. Rev. Code. § 6.15.010(1)(a)
                                                                                    ❑   100% of fair market value, up to
 Line from                                                                              any applicable statutory limit
 Schedule A/B:        11


                                                                                    ✔
 Brief description:
 Costume Jewelry ($50); Tennis bracelet ($500).                          $550.00
                                                                                    ❑                 $550.00                  Wash. Rev. Code. § 6.15.010(1)(a)
                                                                                    ❑   100% of fair market value, up to
 Line from                                                                              any applicable statutory limit
 Schedule A/B:        12


                                                                                    ✔
 Brief description:
 Sound Credit Union - 7448-01                                          $3,927.41
                                                                                    ❑                $2,000.00                 Wash. Rev. Code. § 6.15.010(1)(d)(ii)

 Checking account                                                                   ❑   100% of fair market value, up to
                                                                                        any applicable statutory limit
 Line from
 Schedule A/B:        17


                                                                                    ✔
 Brief description:
 AXA - Equitable - Interest Sensitive Whole Live,                      $1,935.33
                                                                                    ❑                $1,935.33                 Wash. Rev. Code. § 48.18.420

 Series 149 (Cash Surrender Value)                                                  ❑   100% of fair market value, up to
                                                                                        any applicable statutory limit
 Line from
 Schedule A/B:        31


                                                                                    ✔
 Brief description:
 Term Life Insurance Policy - GE Capital Assurance                          $0.00
                                                                                    ❑                  $0.00                   Wash. Rev. Code. § 48.18.410

 -5741 (Accident only - death                                                       ❑   100% of fair market value, up to
                                                                                        any applicable statutory limit
 Line from
 Schedule A/B:        31


                                                                                    ✔
 Brief description:
 Term Life Ins - Mutual of Omaha Acct# 021-89                            unknown
                                                                                    ❑                unknown                   Wash. Rev. Code. § 48.18.410

 (limited accident)                                                                 ❑   100% of fair market value, up to
                                                                                        any applicable statutory limit
 Line from
 Schedule A/B:        31




Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                                      page 2 of 3




                 Case 22-10025-TWD                   Doc 11         Filed 01/21/22            Ent. 01/21/22 21:41:02                 Pg. 14 of 48
 Debtor 1             Joan                Raider                Rawlings                                        Case number (if known) 22-10025
                      First Name          Middle Name            Last Name


 Part 2: Additional Page

 Brief description of the property and line on          Current value of the     Amount of the exemption you claim           Specific laws that allow exemption
 Schedule A/B that lists this property                  portion you own
                                                        Copy the value from      Check only one box for each exemption.
                                                        Schedule A/B

                                                                                 ✔
 Brief description:
 Term Life Ins - AAA Auto Club Life Ins Acct# 6579                     unknown
                                                                                 ❑                unknown                   Wash. Rev. Code. § 48.18.410

 (Any accident) Semi Annual Payment                                              ❑   100% of fair market value, up to
                                                                                     any applicable statutory limit
 Line from
 Schedule A/B:        31


                                                                                 ✔
 Brief description:
 Term Life Ins - AAA - Member Ins Acct# 7960 Pgm                       unknown
                                                                                 ❑                unknown                   Wash. Rev. Code. § 48.18.410

 (Car accident) Semi- annual payment                                             ❑   100% of fair market value, up to
                                                                                     any applicable statutory limit
 Line from
 Schedule A/B:        31


                                                                                 ✔
 Brief description:
 Uncashed Senior Property Tax Refund (2017, 2018,                   $15,432.94
                                                                                 ❑                $1,000.00                 Wash. Rev. Code. § 6.15.010(1)(d)(ii)

 2019)                                                                           ❑   100% of fair market value, up to
                                                                                     any applicable statutory limit
 Line from
 Schedule A/B:        35




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                     page 3 of 3




                 Case 22-10025-TWD                   Doc 11       Filed 01/21/22           Ent. 01/21/22 21:41:02                 Pg. 15 of 48
 Fill in this information to identify your case:

  Debtor 1                       Joan                    Raider                Rawlings
                                 First Name              Middle Name          Last Name

  Debtor 2
  (Spouse, if filing)            First Name              Middle Name          Last Name

  United States Bankruptcy Court for the:                            Western District of Washington

  Case number                             22-10025                                                                                                      ✔
                                                                                                                                                        ❑    Check if this is an
  (if known)                                                                                                                                                 amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
      ❑No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      ✔Yes. Fill in all of the information below.
      ❑
 Part 1: List All Secured Claims

 2.     List all secured claims. If a creditor has more than one secured claim, list the creditor separately for            Column A               Column B              Column C
        each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much           Amount of claim        Value of collateral   Unsecured
        as possible, list the claims in alphabetical order according to the creditor’s name.                                Do not deduct the      that supports         portion
                                                                                                                            value of collateral.   this claim            If any
 2.1 U.S. BANK NATIONAL ASSOCIATION, AS                      Describe the property that secures the claim:                         $659,787.20          $1,150,000.00                $0.00
     TRUSTEE FOR THE HOLDERS OF THE
                                                              4534 NE 204th Pl Lake Forest Park, WA 98155
     MASTR ADJUSTABLE RATE
     MORTGAGES TRUST 2007-2
        Creditor's Name
                                                             As of the date you file, the claim is: Check all that apply.
         60 Livingston Ave EP-Mn-Ws3d
        Number          Street
                                                             ❑Contingent
         Saint Paul, MN 55107                                ❑Unliquidated
        City                      State       ZIP Code       ✔ Disputed
                                                             ❑
        Who owes the debt? Check one.                        Nature of lien. Check all that apply.
        ✔ Debtor 1 only
        ❑                                                    ✔An agreement you made (such as mortgage or
                                                             ❑
        ❑Debtor 2 only                                            secured car loan)
        ❑Debtor 1 and Debtor 2 only                          ❑Statutory lien (such as tax lien, mechanic's lien)
        ❑At least one of the debtors and another             ❑Judgment lien from a lawsuit
        ❑Check if this claim relates to a                    ❑Other (including a right to offset)
           community debt
                                                             Last 4 digits of account number 7            8   0    5
        Date debt was incurred
        09/14/2006

         Remarks:
         The Debtor disputes this debt as timebarred under 4.16.040 as it is more than 6 years beyond the
         statute of limitations.

         Add the dollar value of your entries in Column A on this page. Write that number here:                                           $659,787.20




Official Form 106D                                             Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 3
                   Case 22-10025-TWD                          Doc 11            Filed 01/21/22                 Ent. 01/21/22 21:41:02                    Pg. 16 of 48
 Debtor 1                Joan                Raider                    Rawlings                                              Case number (if known) 22-10025
                         First Name          Middle Name               Last Name


                                                                                                                     Column A                Column B              Column C
                Additional Page
                                                                                                                     Amount of claim         Value of collateral   Unsecured
  Part 1:       After listing any entries on this page, number them beginning with                                   Do not deduct the       that supports         portion
                2.3, followed by 2.4, and so forth.                                                                  value of collateral.    this claim            If any



 2.2                                                  Describe the property that secures the claim:
       Creditor's Name


       Number        Street
                                                      As of the date you file, the claim is: Check all that apply.

       City                     State   ZIP Code      ❑Contingent
       Who owes the debt? Check one.                  ❑Unliquidated
       ❑Debtor 1 only                                 ❑Disputed
       ❑Debtor 2 only                                 Nature of lien. Check all that apply.
       ❑Debtor 1 and Debtor 2 only                    ❑An agreement you made (such as mortgage or
       ❑At least one of the debtors and another          secured car loan)

       ❑Check if this claim relates to a              ❑Statutory lien (such as tax lien, mechanic's lien)
          community debt                              ❑Judgment lien from a lawsuit
       Date debt was incurred                         ❑Other (including a right to offset)
                                                      Last 4 digits of account number




       Add the dollar value of your entries in Column A on this page. Write that number here:                                               $0.00
       If this is the last page of your form, add the dollar value totals from all pages. Write that number                        $659,787.20
       here:




Official Form 106D                           Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 3
                 Case 22-10025-TWD                     Doc 11            Filed 01/21/22                 Ent. 01/21/22 21:41:02                      Pg. 17 of 48
 Debtor 1             Joan                 Raider                   Rawlings                                         Case number (if known) 22-10025
                      First Name            Middle Name             Last Name



 Part 2: List Others to Be Notified for a Debt That You Already Listed

 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is trying
 to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more than one
 creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1,
 do not fill out or submit this page.

    1                                                                                        On which line in Part 1 did you enter the creditor?     1
        Balser, Justin D
        Name
                                                                                             Last 4 digits of account number
        5 Park Plz Ste 1400
        Number        Street



        Irvine, CA 92614-2545
        City                                                State         ZIP Code

    2                                                                                        On which line in Part 1 did you enter the creditor?     1
        Nationstar Mortgage LLC
        Name
                                                                                             Last 4 digits of account number
        Po Box 619081
        Number        Street
        Attn: Bankruptcy

        Dallas, TX 75261
        City                                                State         ZIP Code

    3                                                                                        On which line in Part 1 did you enter the creditor?     1
        Quality Loan Service Corporation of Washington
        Name
                                                                                             Last 4 digits of account number
        108 1st Ave S # 202
        Number        Street
        c/o Robert McDonald

        Seattle, WA 98104-2538
        City                                                State         ZIP Code




Official Form 106D                               Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3 of 3
                 Case 22-10025-TWD                    Doc 11         Filed 01/21/22             Ent. 01/21/22 21:41:02                   Pg. 18 of 48
 Fill in this information to identify your case:

  Debtor 1                   Joan                  Raider              Rawlings
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                     Western District of Washington

  Case number                           22-10025                                                                                            ✔
                                                                                                                                            ❑    Check if this is an
  (if known)                                                                                                                                     amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                          12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ❑ No. Go to Part 2.
     ✔ Yes.
     ❑
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
     identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
     possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
     Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total       Priority          Nonpriority
                                                                                                                                  claim       amount            amount

2.1      Henry & DeGraaff, P.S.                                                                                                     $3,090.00       $3,090.00              $0.00
                                                                    Last 4 digits of account number
        Priority Creditor's Name
                                                                    When was the debt incurred?
         Henry & DeGraaff, PS
                                                                    As of the date you file, the claim is: Check all that
         119 1st Ave S 500                                          apply.
        Number           Street                                     ❑ Contingent
         Seattle, WA 98104                                          ❑ Unliquidated
        City                               State   ZIP Code
                                                                    ❑ Disputed
        Who incurred the debt? Check one.
        ✔
        ❑
                                                                    Type of PRIORITY unsecured claim:
          Debtor 1 only
                                                                    ❑ Domestic support obligations
        ❑ Debtor 2 only                                             ❑ Taxes and certain other debts you owe the
        ❑ Debtor 1 and Debtor 2 only                                    government
        ❑ At least one of the debtors and another                   ❑ Claims for death or personal injury while you were
        ❑ Check if this claim is for a community debt                   intoxicated
        Is the claim subject to offset?
                                                                    ✔ Other. Specify
                                                                    ❑
        ✔ No
        ❑                                                              Attorney Fees
        ❑ Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 4

                  Case 22-10025-TWD                     Doc 11         Filed 01/21/22              Ent. 01/21/22 21:41:02                    Pg. 19 of 48
 Debtor 1              Joan                   Raider                    Rawlings                                            Case number (if known) 22-10025
                       First Name              Middle Name              Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔
      ❑     Yes.
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
     than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the Continuation Page of
     Part 2.
                                                                                                                                                             Total claim

4.1     American Express Centurion Bank                                                                                                                              $15,886.35
                                                                                   Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                                   When was the debt incurred?
        PO BOX 981537
        Number           Street                                                    As of the date you file, the claim is: Check all that apply.
        El Paso, TX 79998                                                          ❑ Contingent
        City                              State     ZIP Code                       ❑ Unliquidated
        Who incurred the debt? Check one.                                          ✔ Disputed
                                                                                   ❑
        ✔
        ❑ Debtor 1 only                                                            Type of NONPRIORITY unsecured claim:
        ❑ Debtor 2 only                                                            ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only                                               ❑ Obligations arising out of a separation agreement or
        ❑ At least one of the debtors and another                                      divorce that you did not report as priority claims
        ❑ Check if this claim is for a community debt                              ❑ Debts to pension or profit-sharing plans, and other
                                                                                       similar debts
        Is the claim subject to offset?                                            ✔ Other. Specify
                                                                                   ❑
        ✔ No
        ❑                                                                              Credit Card
        ❑ Yes
        Remarks: Judgment entered, Amex v Rawlings, King County
        Superior Court of Washington State, Case# 11-2-32038-3 SEA
        This judgment will be avoided as impairing a homestead extension.




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                          page 2 of 4

                   Case 22-10025-TWD                      Doc 11          Filed 01/21/22              Ent. 01/21/22 21:41:02                      Pg. 20 of 48
 Debtor 1              Joan                Raider                  Rawlings                                          Case number (if known) 22-10025
                       First Name          Middle Name              Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection
     agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly,
     if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons
     to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
        Suttell & Hammer, PS                                          On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        PO Box C-90006                                                Line   4.1   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Bellevue, WA 98009
       City                                  State      ZIP Code      Last 4 digits of account number

                                                                      On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                     ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                  State      ZIP Code




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 3 of 4
                Case 22-10025-TWD                     Doc 11         Filed 01/21/22             Ent. 01/21/22 21:41:02                   Pg. 21 of 48
 Debtor 1              Joan                 Raider                 Rawlings                                    Case number (if known) 22-10025
                       First Name           Middle Name             Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.




                                                                                            Total claim


                   6a. Domestic support obligations                              6a.                               $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                 6b.                               $0.00
                       government

                   6c. Claims for death or personal injury while you             6c.                               $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.           6d.   +                       $3,090.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                           6e.                            $3,090.00




                                                                                            Total claim


                   6f. Student loans                                             6f.                               $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                   6g.                               $0.00
                       agreement or divorce that you did not report as
                       priority claims

                   6h. Debts to pension or profit-sharing plans, and             6h.                               $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured claims.        6i.    +                     $15,886.35
                       Write that amount here.

                   6j. Total. Add lines 6f through 6i.                           6j.                           $15,886.35




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 4 of 4
                Case 22-10025-TWD                        Doc 11      Filed 01/21/22         Ent. 01/21/22 21:41:02                Pg. 22 of 48
 Fill in this information to identify your case:

     Debtor 1                   Joan                 Raider             Rawlings
                                First Name           Middle Name        Last Name

     Debtor 2
     (Spouse, if filing)        First Name           Middle Name        Last Name

     United States Bankruptcy Court for the:                     Western District of Washington

     Case number                         22-10025                                                                                            ✔
                                                                                                                                             ❑    Check if this is an
     (if known)                                                                                                                                   amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and case number (if
known).

 1.     Do you have any executory contracts or unexpired leases?
        ✔No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ❑
        ❑Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example, rent,
       vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.



       Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1

        Name

        Number         Street

        City                                 State   ZIP Code

2.2

        Name

        Number         Street

        City                                 State   ZIP Code

2.3

        Name

        Number         Street

        City                                 State   ZIP Code

2.4

        Name

        Number         Street

        City                                 State   ZIP Code




Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                                    page 1 of 1
                     Case 22-10025-TWD                    Doc 11         Filed 01/21/22             Ent. 01/21/22 21:41:02                    Pg. 23 of 48
 Fill in this information to identify your case:

  Debtor 1                     Joan                   Raider              Rawlings
                               First Name            Middle Name          Last Name

  Debtor 2
  (Spouse, if filing)          First Name            Middle Name          Last Name

  United States Bankruptcy Court for the:                         Western District of Washington

  Case number                           22-10025                                                                                             ✔
                                                                                                                                             ❑      Check if this is an
  (if known)                                                                                                                                        amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                                    12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing together,
both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries in the boxes on
the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.
 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ✔ No
        ❑
        ❑Yes
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California, Idaho,
        Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ✔No. Go to line 3.
        ❑
        ❑Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
          ❑No
          ❑Yes. In which community state or territory did you live?                                       . Fill in the name and current address of that person.


               Name

               Number          Street

               City                                 State      ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2 again as a
        codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D), Schedule E/F (Official
        Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                                   Column 2: The creditor to whom you owe the debt
                                                                                                                  Check all schedules that apply:
3.1                                                                                                               ❑Schedule D, line
      Name
                                                                                                                  ❑Schedule E/F, line
      Number          Street                                                                                      ❑Schedule G, line
      City                                  State   ZIP Code




Official Form 106H                                                            Schedule H: Your Codebtors                                                                  Page 1 of 1




                  Case 22-10025-TWD                         Doc 11         Filed 01/21/22          Ent. 01/21/22 21:41:02                     Pg. 24 of 48
 Fill in this information to identify your case:

  Debtor 1                   Joan                   Raider            Rawlings
                             First Name            Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name       Last Name                                                   Check if this is:

  United States Bankruptcy Court for the:                    Western District of Washington                                      ✔An amended filing
                                                                                                                                 ❑
                                                                                                                                 ❑A supplement showing postpetition
  Case number                           22-10025                                                                                      chapter 13 income as of the following date:
  (if known)

                                                                                                                                      MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                               Debtor 1                                            Debtor 2 or non-filing spouse


     If you have more than one job,            Employment status                     ✔ Not Employed
                                                                           ❑Employed ❑                                         ❑Employed ❑Not Employed
     attach a separate page with
     information about additional              Occupation
     employers.
                                               Employer's name
     Include part time, seasonal, or
     self-employed work.
                                               Employer's address
     Occupation may include student                                         Number Street                                      Number Street
     or homemaker, if it applies.




                                                                            City                     State   Zip Code          City                    State      Zip Code

                                               How long employed there?


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse unless you
     are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more space,
     attach a separate sheet to this form.

                                                                                                         For Debtor 1       For Debtor 2 or
                                                                                                                            non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.             2.                 $0.00                        $0.00

 3. Estimate and list monthly overtime pay.                                                 3.   +             $0.00       +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                            4.                 $0.00                        $0.00




Official Form 106I                                                          Schedule I: Your Income                                                                    page 1
                  Case 22-10025-TWD                     Doc 11        Filed 01/21/22                 Ent. 01/21/22 21:41:02                 Pg. 25 of 48
 Debtor 1                  Joan                             Raider                             Rawlings                                        Case number (if known) 22-10025
                            First Name                      Middle Name                         Last Name


                                                                                                                                    For Debtor 1       For Debtor 2 or
                                                                                                                                                       non-filing spouse
      Copy line 4 here....................................................................................➔            4.                 $0.00                    $0.00
 5.   List all payroll deductions:
      5a. Tax, Medicare, and Social Security deductions                                                                5a.                $0.00                    $0.00
      5b. Mandatory contributions for retirement plans                                                                 5b.                $0.00                    $0.00
      5c. Voluntary contributions for retirement plans                                                                 5c.                $0.00                    $0.00
      5d. Required repayments of retirement fund loans                                                                 5d.                $0.00                    $0.00
      5e. Insurance                                                                                                    5e.                $0.00                    $0.00
      5f. Domestic support obligations                                                                                 5f.                $0.00                    $0.00
      5g. Union dues                                                                                                   5g.                $0.00                    $0.00

      5h. Other deductions. Specify:                                                                                   5h.   +             $0.00       +           $0.00

 6.   Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                      6.                 $0.00                    $0.00
 7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                              7.                 $0.00                    $0.00
 8.   List all other income regularly received:
      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross receipts,
            ordinary and necessary business expenses, and the total monthly net income.                                8a.                $0.00                    $0.00
      8b. Interest and dividends                                                                                       8b.                $0.00                    $0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                       8c.                $0.00                    $0.00
      8d. Unemployment compensation                                                                                    8d.                $0.00                    $0.00
      8e. Social Security                                                                                              8e.             $1,273.00                   $0.00
      8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify: EBT                                                                                               8f.              $250.00                    $0.00
      8g. Pension or retirement income                                                                                 8g.                $0.00                    $0.00

      8h. Other monthly income. Specify:                                                                               8h.   +             $0.00       +           $0.00


 9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.              $1,523.00                    $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                         10.             $1,523.00   +                $0.00        =       $1,523.00

 11. State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
      friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

      Specify:                                                                                                                                                         11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                               12.          $1,523.00
                                                                                                                                                                                 Combined
                                                                                                                                                                                 monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
      ❑No.                       Debtor plans to use State Property Tax Refunds from 2017. 2018, 2019 and 2020 as additional funds for a plan until a reverse mortgage of her
      ✔Yes. Explain:
      ❑                          home or a sale.


Official Form 106I                                                                                        Schedule I: Your Income                                                          page 2
                    Case 22-10025-TWD                                      Doc 11                Filed 01/21/22              Ent. 01/21/22 21:41:02              Pg. 26 of 48
 Fill in this information to identify your case:

  Debtor 1                   Joan                     Raider                 Rawlings
                             First Name              Middle Name            Last Name                              Check if this is:
  Debtor 2                                                                                                         ✔An amended filing
                                                                                                                   ❑
  (Spouse, if filing)        First Name              Middle Name            Last Name                              ❑A supplement showing postpetition
                                                                                                                       chapter 13 income as of the following date:
  United States Bankruptcy Court for the:                          Western District of Washington

  Case number                           22-10025                                                                       MM / DD / YYYY
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ✔No. Go to line 2.
     ❑
     ❑Yes. Does Debtor 2 live in a separate household?
            ❑No
            ❑Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                        ✔ No
                                                   ❑
     Do not list Debtor 1 and
     Debtor 2.
                                                   ❑Yes. Fill out this information for   Dependent's relationship to
                                                                                         Debtor 1 or Debtor 2
                                                                                                                              Dependent's
                                                                                                                              age
                                                                                                                                                  Does dependent live
                                                                                                                                                  with you?
                                                      each dependent...............
     Do not state the dependents' names.
                                                                                                                                                   ❑No. ❑Yes.
                                                                                                                                                   ❑No. ❑Yes.
                                                                                                                                                   ❑No. ❑Yes.
                                                                                                                                                   ❑No. ❑Yes.
                                                                                                                                                   ❑No. ❑Yes.
 3. Do your expenses include expenses              ✔ No
                                                   ❑
    of people other than yourself and
    your dependents?
                                                   ❑Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a date after
 the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                    Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent for the
    ground or lot.                                                                                                                4.                          $0.00


     If not included in line 4:
                                                                                                                                  4a.                         $0.00
     4a. Real estate taxes
                                                                                                                                  4b.                         $0.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                                  4c.                       $100.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                                  4d.                         $0.00
     4d. Homeowner's association or condominium dues




Official Form 106J                                                                    Schedule J: Your Expenses                                                         page 1
                  Case 22-10025-TWD                         Doc 11            Filed 01/21/22         Ent. 01/21/22 21:41:02                 Pg. 27 of 48
 Debtor 1              Joan                   Raider                   Rawlings                               Case number (if known) 22-10025
                       First Name             Middle Name               Last Name


                                                                                                                              Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                   5.                            $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                           6a.                          $20.00

       6b. Water, sewer, garbage collection                                                                         6b.                          $73.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                           6c.                          $67.00

       6d. Other. Specify:                                                                                          6d.                           $0.00

 7.    Food and housekeeping supplies                                                                               7.                          $300.00

 8.    Childcare and children’s education costs                                                                     8.                            $0.00

 9.    Clothing, laundry, and dry cleaning                                                                          9.                           $20.00

 10. Personal care products and services                                                                            10.                          $30.00

 11.   Medical and dental expenses                                                                                  11.                          $30.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                   12.                          $80.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                             13.                          $50.00

 14. Charitable contributions and religious donations                                                               14.                           $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                    15a.                        $205.40
       15a. Life insurance
                                                                                                                    15b.                          $0.00
       15b. Health insurance
       15c. Vehicle insurance                                                                                       15c.                        $102.50

       15d. Other insurance. Specify:                                                                               15d.                          $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                     16.                           $0.00

 17. Installment or lease payments:
                                                                                                                    17a.                          $0.00
       17a. Car payments for Vehicle 1
                                                                                                                    17b.                          $0.00
       17b. Car payments for Vehicle 2
                                                                                                                    17c.                          $0.00
       17c. Other. Specify:
                                                                                                                    17d.                          $0.00
       17d. Other. Specify:

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.                           $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                     19.                           $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                             20a.                          $0.00
       20b. Real estate taxes                                                                                       20b.                          $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                            20c.                          $0.00
       20d. Maintenance, repair, and upkeep expenses                                                                20d.                          $0.00
       20e. Homeowner’s association or condominium dues                                                             20e.                          $0.00




Official Form 106J                                                                Schedule J: Your Expenses                                               page 2
                    Case 22-10025-TWD                    Doc 11             Filed 01/21/22       Ent. 01/21/22 21:41:02        Pg. 28 of 48
 Debtor 1              Joan                 Raider                  Rawlings                                Case number (if known) 22-10025
                       First Name           Middle Name              Last Name



 21. Other. Specify:                                                                                              21.     +                     $0.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                22a.                   $1,077.90

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                          $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.                   $1,077.90


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                           23a.                   $1,523.00

      23b. Copy your monthly expenses from line 22c above.                                                        23b.    –               $1,077.90

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                                  23c.                        $445.10
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑Yes.




Official Form 106J                                                             Schedule J: Your Expenses                                                page 3
                Case 22-10025-TWD                     Doc 11            Filed 01/21/22         Ent. 01/21/22 21:41:02         Pg. 29 of 48
 Fill in this information to identify your case:

  Debtor 1                         Joan                           Raider                     Rawlings
                                  First Name                    Middle Name                 Last Name

  Debtor 2
  (Spouse, if filing)             First Name                    Middle Name                 Last Name

  United States Bankruptcy Court for the:                                        Western District of Washington

  Case number                                   22-10025                                                                                                                            ✔
                                                                                                                                                                                    ❑      Check if this is an
  (if known)                                                                                                                                                                               amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all of your
schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a new Summary
and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                                            Your assets
                                                                                                                                                                                            Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                                     $1,150,000.00


    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                                               $31,965.27


    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                                    $1,181,965.27



 Part 2: Summarize Your Liabilities



                                                                                                                                                                                            Your liabilities
                                                                                                                                                                                            Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                               $659,787.20

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                                                 $3,090.00
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                                       +                 $15,886.35


                                                                                                                                                                  Your total liabilities                    $678,763.55

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                                       $1,523.00


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                                     $1,077.90




Official Form 106Sum                                                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                page 1 of 2
                    Case 22-10025-TWD                                    Doc 11               Filed 01/21/22                       Ent. 01/21/22 21:41:02                            Pg. 30 of 48
 Debtor 1             Joan                   Raider                   Rawlings                                            Case number (if known) 22-10025
                      First Name             Middle Name               Last Name



 Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑    No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔
   ❑    Yes



7. What kind of debt do you have?
   ✔
   ❑    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
        family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑    Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
        this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                                       $0.00




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                       Total claim

       From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                                      $0.00



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                             $0.00



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                                   $0.00



    9d. Student loans. (Copy line 6f.)                                                                                                    $0.00



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                                   $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                         +                     $0.00



    9g. Total. Add lines 9a through 9f.                                                                                                  $0.00




Official Form 106Sum                                   Summary of Your Assets and Liabilities and Certain Statistical Information                             page 2 of 2
                 Case 22-10025-TWD                      Doc 11          Filed 01/21/22              Ent. 01/21/22 21:41:02                     Pg. 31 of 48
 Fill in this information to identify your case:

  Debtor 1                   Joan                  Raider           Rawlings
                             First Name            Middle Name      Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name      Last Name

  United States Bankruptcy Court for the:                    Western District of Washington

  Case number                           22-10025                                                                                     ✔
                                                                                                                                     ❑    Check if this is an
  (if known)                                                                                                                              amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                              12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑Yes. Name of person                                                            . Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature
                                                                                     (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Joan Raider Rawlings
        Joan Raider Rawlings, Debtor 1


        Date 01/21/2022
                MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                  Case 22-10025-TWD                     Doc 11       Filed 01/21/22           Ent. 01/21/22 21:41:02                 Pg. 32 of 48
 Fill in this information to identify your case:

  Debtor 1                   Joan                  Raider              Rawlings
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                     Western District of Washington

  Case number                           22-10025                                                                                       ✔
                                                                                                                                       ❑   Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ❑ Married
    ✔ Not married
    ❑
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                               Dates Debtor 1 lived       Debtor 2:                                            Dates Debtor 2 lived
                                                              there                                                                           there


                                                                                       ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
                                                            From                                                                            From
    Number      Street                                                                     Number      Street
                                                            To                                                                              To



    City                               State ZIP Code                                      City                       State ZIP Code




                                                                                       ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
                                                            From                                                                            From
    Number      Street                                                                     Number      Street
                                                            To                                                                              To



    City                               State ZIP Code                                      City                       State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and territories
  include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 1


                  Case 22-10025-TWD                     Doc 11          Filed 01/21/22                Ent. 01/21/22 21:41:02           Pg. 33 of 48
Debtor 1            Joan                 Raider                   Rawlings                                            Case number (if known) 22-10025
                    First Name           Middle Name              Last Name
 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross Income                  Sources of income             Gross Income
                                                    Check all that apply.         (before deductions and        Check all that apply.         (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the       ❑ Wages, commissions,                                       ❑ Wages, commissions,
    date you filed for bankruptcy:                     bonuses, tips                                               bonuses, tips
                                                   ❑Operating a business                                       ❑Operating a business

    For last calendar year:                        ❑ Wages, commissions,                                       ❑ Wages, commissions,
    (January 1 to December 31, 2021         )          bonuses, tips                                               bonuses, tips
                                     YYYY          ❑Operating a business                                       ❑Operating a business

    For the calendar year before that:             ❑ Wages, commissions,                                       ❑ Wages, commissions,
    (January 1 to December 31, 2020         )          bonuses, tips                                               bonuses, tips
                                     YYYY          ❑Operating a business                                       ❑Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other public benefit
  payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case and you
  have income that you received together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross income from each        Sources of income             Gross Income from each
                                                    Describe below.               source                        Describe below.               source
                                                                                  (before deductions and                                      (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the        Social Security Income                      $1,273.00
    date you filed for bankruptcy:                  EBT                                           $250.00




    For last calendar year:                         Social Secuirty Income                    $14,424.00
    (January 1 to December 31, 2021         )       Refund for 2021 State                       $2,321.75
                                     YYYY           Property Taxes




    For the calendar year before that:              EBT                                         $3,000.00
    (January 1 to December 31, 2020         )       Social Security Income                    $14,232.00
                                     YYYY
                                                    EBT                                         $3,000.00




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 2


                Case 22-10025-TWD                      Doc 11          Filed 01/21/22             Ent. 01/21/22 21:41:02                   Pg. 34 of 48
Debtor 1            Joan                         Raider                Rawlings                                           Case number (if known) 22-10025
                    First Name                   Middle Name               Last Name
 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑No.       Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
               individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

               ❑No. Go to line 7.
               ❑Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you paid that
                           creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                           payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔Yes.
    ❑          Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               ✔No. Go to line 7.
               ❑
               ❑Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                           payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                           this bankruptcy case.

                                                                   Dates of              Total amount paid        Amount you still owe         Was this payment for…
                                                                   payment

                                                                                                                                             ❑Mortgage
             Creditor's Name                                                                                                                 ❑Car
                                                                                                                                             ❑Credit card
             Number        Street                                                                                                            ❑Loan repayment
                                                                                                                                             ❑Suppliers or vendors
                                                                                                                                             ❑Other
             City                        State      ZIP Code




  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an
  officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you operate as a sole
  proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑Yes. List all payments to an insider.
                                                                Dates of               Total amount paid   Amount you still owe      Reason for this payment
                                                                payment



    Insider's Name


    Number      Street




    City                         State      ZIP Code




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                Case 22-10025-TWD                              Doc 11         Filed 01/21/22           Ent. 01/21/22 21:41:02                   Pg. 35 of 48
Debtor 1            Joan                    Raider                  Rawlings                                            Case number (if known) 22-10025
                    First Name              Middle Name               Last Name



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑Yes. List all payments that benefited an insider.
                                                           Dates of               Total amount paid     Amount you still owe      Reason for this payment
                                                           payment                                                                Include creditor’s name



    Insider's Name


    Number       Street




    City                         State     ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and contract
  disputes.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                      Nature of the case                         Court or agency                                  Status of the case

    Case title                                                                                                                                   ❑Pending
                                                                                                Court Name                                       ❑On appeal
                                                                                                                                                 ❑Concluded
                                                                                                Number       Street
    Case number

                                                                                                City                      State       ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔No. Go to line 11.
    ❑
    ❑Yes. Fill in the information below.
                                                                       Describe the property                                   Date                 Value of the property



    Creditor’s Name


    Number       Street                                               Explain what happened

                                                                      ❑Property was repossessed.
                                                                      ❑Property was foreclosed.
                                                                      ❑Property was garnished.
    City                           State    ZIP Code                  ❑Property was attached, seized, or levied.

Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                page 4

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Debtor 1            Joan                   Raider                  Rawlings                                        Case number (if known) 22-10025
                    First Name             Middle Name             Last Name



  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or refuse
  to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                           Describe the action the creditor took                        Date action was   Amount
                                                                                                                        taken
    Creditor’s Name


    Number      Street



    City                         State     ZIP Code
                                                          Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-appointed
  receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift.
     Gifts with a total value of more than $600 per        Describe the gifts                                          Dates you gave     Value
     person                                                                                                            the gifts



    Person to Whom You Gave the Gift




    Number      Street



    City                           State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift or contribution.




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Debtor 1             Joan                Raider                   Rawlings                                       Case number (if known) 22-10025
                     First Name          Middle Name              Last Name

     Gifts or contributions to charities that     Describe what you contributed                                 Date you               Value
     total more than $600                                                                                       contributed



    Charity’s Name




    Number     Street



    City                    State   ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or gambling?

    ❑No
    ✔Yes. Fill in the details.
    ❑
     Describe the property you lost and         Describe any insurance coverage for the loss                   Date of your loss       Value of property lost
     how the loss occurred                      Include the amount that insurance has paid. List pending
                                                insurance claims on line 33 of Schedule A/B: Property.
    Tree fell in windstorm and claim filed     Claim on Homeowner's Ins for Roof Damage and Front Deck
    with Alstate Homeowner' Insurance -        (Allstate Ins. Claim# 0646503599)                               11/2021
    $3,455.00 paid so far and an additional
    amount still pending.


 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted about
  seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                  Description and value of any property transferred             Date payment or        Amount of payment
     Henry & DeGraaff, P.S.                                                                                     transfer was made
    Person Who Was Paid                          Attorney's Fee
                                                                                                               02/01/2021                            $910.00
     119 1st Ave S 500
    Number     Street




     Seattle, WA 98104
    City                    State   ZIP Code
    mainline@hdm-legal.com
    Email or website address


    Person Who Made the Payment, if Not You




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Debtor 1            Joan                Raider                  Rawlings                                          Case number (if known) 22-10025
                    First Name          Middle Name             Last Name



  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to help you
  deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                 Description and value of any property transferred              Date payment or         Amount of payment
                                                                                                                transfer was made
    Person Who Was Paid



    Number     Street




    City                   State   ZIP Code




  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                 Description and value of property          Describe any property or payments received       Date transfer was
                                                 transferred                                or debts paid in exchange                        made

    Person Who Received Transfer


    Number     Street




    City                   State   ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?(These are
  often called asset-protection devices.)

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                 Description and value of the property transferred                                           Date transfer was
                                                                                                                                             made


    Name of trust




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Debtor 1            Joan                 Raider                  Rawlings                                         Case number (if known) 22-10025
                    First Name           Middle Name              Last Name
 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved, or
  transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension funds,
  cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                  Last 4 digits of account number          Type of account or      Date account was           Last balance
                                                                                           instrument              closed, sold, moved, or    before closing or
                                                                                                                   transferred                transfer

    Name of Financial Institution
                                                  XXXX–                                    ❑Checking
                                                                                           ❑Savings
    Number      Street
                                                                                           ❑Money market
                                                                                           ❑Brokerage
                                                                                           ❑Other
    City                   State    ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                   Who else had access to it?                     Describe the contents                        Do you still have
                                                                                                                                               it?

                                                                                                                                             ❑No
    Name of Financial Institution                 Name
                                                                                                                                             ❑Yes

    Number      Street                            Number     Street



                                                  City                 State    ZIP Code

    City                   State    ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                   Who else has or had access to it?              Describe the contents                        Do you still have
                                                                                                                                               it?

                                                                                                                                             ❑No
    Name of Storage Facility                      Name
                                                                                                                                             ❑Yes

    Number      Street                            Number     Street



                                                  City                 State    ZIP Code

    City                   State    ZIP Code



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Debtor 1            Joan                  Raider                   Rawlings                                              Case number (if known) 22-10025
                    First Name            Middle Name               Last Name
 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                     Where is the property?                             Describe the property                            Value


    Owner's Name
                                                    Number     Street


    Number     Street

                                                    City                       State   ZIP Code


    City                   State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic substances, wastes,
      or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the cleanup of these substances,
      wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate, or utilize it,
      including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant,
      contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                    Governmental unit                             Environmental law, if you know it                      Date of notice


    Name of site                                   Governmental unit



    Number     Street                              Number     Street


                                                   City                State     ZIP Code


    City                   State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑Yes. Fill in the details.




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Debtor 1             Joan                   Raider                     Rawlings                                            Case number (if known) 22-10025
                     First Name             Middle Name                Last Name

                                                      Governmental unit                          Environmental law, if you know it                    Date of notice


    Name of site                                     Governmental unit



    Number        Street                             Number       Street


                                                     City                  State   ZIP Code


    City                     State    ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                      Court or agency                            Nature of the case                                   Status of the case


    Case title
                                                     Court Name
                                                                                                                                                    ❑Pending
                                                                                                                                                    ❑On appeal
                                                                                                                                                    ❑Concluded
                                                     Number       Street


    Case number
                                                     City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ✔No. None of the above applies. Go to Part 12.
    ❑
    ❑Yes. Check all that apply above and fill in the details below for each business.
                                                       Describe the nature of the business                         Employer Identification number
                                                                                                                   Do not include Social Security number or ITIN.
    Name
                                                                                                                    EIN:          –

    Number        Street
                                                       Name of accountant or bookkeeper                            Dates business existed

                                                                                                                    From                 To

    City                     State    ZIP Code




Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 10
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Debtor 1            Joan                  Raider                    Rawlings                                    Case number (if known) 22-10025
                    First Name            Middle Name               Last Name



 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions, creditors,
 or other parties.

    ✔ No
    ❑
    ❑Yes. Fill in the details below.
                                                    Date issued



    Name                                           MM / DD / YYYY



    Number       Street




    City                     State   ZIP Code




 Part 12: Sign Below


 I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true and
 correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
 can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




    ✘ /s/ Joan Raider Rawlings
           Signature of Joan Raider Rawlings, Debtor 1


           Date 01/21/2022




  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑Yes
  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
                                                                                                       Attach the Bankruptcy Petition Preparer’s Notice,
    ❑Yes. Name of person                                                                               Declaration, and Signature (Official Form 119).




                 Case 22-10025-TWD                      Doc 11         Filed 01/21/22        Ent. 01/21/22 21:41:02                   Pg. 43 of 48
 Fill in this information to identify your case:                                                                          Check as directed in lines 17 and 21:
                                                                                                                          According to the calculations required by this
  Debtor 1                   Joan                   Raider             Rawlings                                           Statement:
                             First Name            Middle Name         Last Name
                                                                                                                          ✔1. Disposable income is not determined
                                                                                                                          ❑
  Debtor 2                                                                                                                   under 11 U.S.C. § 1325(b)(3).
  (Spouse, if filing)        First Name            Middle Name         Last Name                                          ❑2. Disposable income is determined
                                                                                                                             under 11 U.S.C. § 1325(b)(3).
  United States Bankruptcy Court for the:                     Western District of Washington
                                                                                                                          ✔3. The commitment period is 3 years.
                                                                                                                          ❑
  Case number                           22-10025
  (if known)                                                                                                              ❑4. The commitment period is 5 years.
                                                                                                                          ✔ Check if this is an amended filing
                                                                                                                          ❑

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                                  04/20
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach a
separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known).



 Part 1: Calculate Your Average Monthly Income

 1.   What is your marital and filing status? Check one only.
      ✔ Not married. Fill out Column A, lines 2-11.
      ❑
      ❑ Married. Fill out both Columns A and B, lines 2-11.
  Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
  101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the
  6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses own
  the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                               Column A               Column B
                                                                                                               Debtor 1               Debtor 2 or
                                                                                                                                      non-filing spouse

 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all                                        $0.00
    payroll deductions).

 3. Alimony and maintenance payments. Do not include payments from a spouse.                                              $0.00

 4. All amounts from any source which are regularly paid for household expenses of you or your
    dependents, including child support. Include regular contributions from an unmarried partner,
    members of your household, your dependents, parents, and roommates. Do not include payments
    from a spouse. Do not include payments you listed on line 3.                                                          $0.00


 5. Net income from operating a business, profession, or
    farm                                                                Debtor 1         Debtor 2
                                                                             $0.00            $0.00
      Gross receipts (before all deductions)

      Ordinary and necessary operating expenses
                                                                   -         $0.00   -        $0.00

                                                                             $0.00           $0.00    Copy
      Net monthly income from a business, profession, or farm                                                             $0.00
                                                                                                      here →


 6. Net income from rental and other real property                      Debtor 1         Debtor 2
                                                                             $0.00            $0.00
      Gross receipts (before all deductions)

      Ordinary and necessary operating expenses
                                                                   -         $0.00   -        $0.00

                                                                             $0.00           $0.00    Copy
      Net monthly income from rental or other real property                                                               $0.00
                                                                                                      here →



 Official Form 122C-1                          Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                page 1

                  Case 22-10025-TWD                      Doc 11         Filed 01/21/22           Ent. 01/21/22 21:41:02                    Pg. 44 of 48
Debtor 1                     Joan                               Raider                                    Rawlings                             Case number (if known) 22-10025
                             First Name                          Middle Name                              Last Name
                                                                                                                                   Column A               Column B
                                                                                                                                   Debtor 1               Debtor 2 or
                                                                                                                                                          non-filing spouse
 7. Interest, dividends, and royalties                                                                                                          $0.00

 8. Unemployment compensation                                                                                                                   $0.00
    Do not enter the amount if you contend that the amount received was a benefit under the Social
    Security Act. Instead, list it here: ..................................................               ↓
           For you....................................................................................                 $1,273.00
           For your spouse......................................................................

 9. Pension or retirement income. Do not include any amount received that was a benefit under                                                   $0.00
    the Social Security Act. Also, except as stated in the next sentence, do not include any
    compensation, pension, pay, annuity, or allowance paid by the United States Government in
    connection with a disability, combat-related injury or disability, or death of a member of the
    uniformed services. If you received any retired pay paid under chapter 61 of title 10, then
    include that pay only to the extent that it does not exceed the amount of retired pay to which you
    would otherwise be entitled if retired under any provision of title 10 other than chapter 61 of that
    title.

10. Income from all other sources not listed above. Specify the source and amount. Do not
    include any benefits received under the Social Security Act; payments made under the
    Federal law relating to the national emergency declared by the President under the National
    Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the coronavirus disease 2019
    (COVID-19); payments received as a victim of a war crime, a crime against humanity, or
    international or domestic terrorism; or compensation, pension, pay, annuity, or allowance paid
    by the United States Government in connection with a disability, combat-related injury or
    disability, or death of a member of the uniformed services. If necessary, list other sources on
    a separate page and put the total below.




    Total amounts from separate pages, if any.                                                                                     +                       +
                                                                                                                                               $0.00                              =           $0.00
 11. Calculate your total average monthly income. Add lines 2 through 10 for each                                                                          +
     column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                                      Total average
                                                                                                                                                                                      monthly income

Part 2: Determine How to Measure Your Deductions from Income

12. Copy your total average monthly income from line 11. .................................................................................                                                      $0.00

13. Calculate the marital adjustment. Check one:

   ✔You are not married. Fill in 0 below.
   ❑
   ❑You are married and your spouse is filing with you. Fill in 0 below.
   ❑You are married and your spouse is not filing with you.
       Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
       dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than you or your dependents.
       Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
       adjustments on a separate page.
       If this adjustment does not apply, enter 0 below.




                                                                                                                              +

       Total...........................................................................................                                $0.00
                                                                                                                                                  Copy here. →
                                                                                                                                                                              -              $0.00

14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                                                                   $0.00




Official Form 122C-1                                           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                        page 2
                    Case 22-10025-TWD                                            Doc 11                    Filed 01/21/22    Ent. 01/21/22 21:41:02              Pg. 45 of 48
Debtor 1                     Joan                               Raider                                Rawlings                                                                     Case number (if known) 22-10025
                             First Name                         Middle Name                           Last Name

15. Calculate your current monthly income for the year. Follow these steps:

        15a. Copy line 14 here →...............................................................................................................................................................                                     $0.00

               Multiply line 15a by 12 (the number of months in a year).                                                                                                                                                 x 12
                                                                                                                                                                                                                                    $0.00
        15b. The result is your current monthly income for the year for this part of the form.....................................................................

16. Calculate the median family income that applies to you. Follow these steps:
        16a. Fill in the state in which you live.                                                                                 Washington
        16b. Fill in the number of people in your household.                                                                              1

        16c. Fill in the median family income for your state and size of household. ....................................................................................                                                        $71,060.00
               To find a list of applicable median income amounts, go online using the link specified in the separate
               instructions for this form. This list may also be available at the bankruptcy clerk’s office.

17. How do the lines compare?

        17a.     ✔
                 ❑      Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under 11 U.S.C. §
                        1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C–2).
        17b.     ❑      Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. § 1325(b)(3). Go
                        to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C–2). On line 39 of that form, copy your current monthly income
                        from line 14 above.
Part 3: Calculate Your Commitment Period Under 11 U.S.C. §1325(b)(4)

18. Copy your total average monthly income from line 11. ..........................................................................................................                                                                 $0.00
19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend that calculating the
    commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s income, copy the amount from line 13.
   19a. If the marital adjustment does not apply, fill in 0 on line 19a. .....................................................................................................                                       -              $0.00
   19b. Subtract line 19a from line 18.                                                                                                                                                                                             $0.00

20. Calculate your current monthly income for the year. Follow these steps.

   20a. Copy line 19b.............................................................................................................................................................................                                  $0.00
           Multiply by 12 (the number of months in a year).                                                                                                                                                     x 12
                                                                                                                                                                                                                                    $0.00
   20b. The result is your current monthly income for the year for this part of the form.

                                                                                                                                                                                                                            $71,060.00
   20c. Copy the median family income for your state and size of household from line 16c. ...............................................................

21. How do the lines compare?
   ✔
   ❑     Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3,
         The commitment period is 3 years. Go to Part 4.
   ❑     Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
         check box 4, The commitment period is 5 years. Go to Part 4.

Part 4: Sign Below

    By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.


          ✘ /s/ Joan Raider Rawlings
                 Signature of Debtor 1

                 Date 01/21/2022
                           MM/ DD/ YYYY

    If you checked 17a, do NOT fill out or file Form 122C–2.
    If you checked 17b, fill out Form 122C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.



Official Form 122C-1                                          Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                             page 3

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                                                    United States Bankruptcy Court
                                                                 Western District of Washington

In re        Rawlings, Joan Raider

                                                                                                       Case No.              22-10025

Debtor                                                                                                 Chapter                 13


                                                                                 AMENDED


                                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
        that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
        services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as
        follows:

        For legal services, I have agreed to accept ......................................................................................................................................
                                                                                                                                                $4,000.00

        Prior to the filing of this statement I have received ...........................................................................................................................
                                                                                                                                                  $910.00

        Balance Due ................................................................................................................................................
                                                                                                                                                          $3,090.00

2.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                           ❑ Other (specify)
3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                           ❑ Other (specify)
4.      ✔
        ❑     I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates
        of my law firm.

        ❑     I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates
        of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is
        attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.     Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
               bankruptcy;

        b.     Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:




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                                                         CERTIFICATION

                     I certify that the foregoing is a complete statement of any agreement or arrangement for
                payment to me for representation of the debtor(s) in this bankruptcy proceeding.

                       01/21/2022                                         /s/ Christina L. Henry
                Date                                     Christina L. Henry
                                                         Signature of Attorney
                                                                                            Bar Number: 31273
                                                                                       Henry & DeGraaff, P.S.
                                                                                        Henry & DeGraaff, PS
                                                                                             119 1st Ave S 500
                                                                                             Seattle, WA 98104
                                                                                         Phone: (206) 330-0595

                                                                        Henry & DeGraaff, P.S.
                                                         Name of law firm




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